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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION




NICOLE L. CROY,PAULA JOBE
a/k/a PAULA KURTZ,JEFFREY D.                       CV 19-77-M-DWM
COLLINS,CAM J. COLLINS,SHAEN
D. MCELRAVY,JODY A.
MCELRAVY,KAREN M.
HAYWARD,RONALD C.                                         ORDER
HAYWARD,and BRAD
MAGRUDER,

            Plaintiffs,

      vs.



RAVALLI COUNTY and BOARD OF
COMMISSIONERS OF RAVALLI
COUNTY,

            Defendants.




     The parties having filed a stipulation for dismissal pursuant to Rule 41(a),

     IT IS ORDERED that the above-captioned cause is DISMISSED WITH

PREJUDICE, each party to pay its own costs. All pending motions are MOOT and

all deadlines are VACATED.


     DATED this           day of November, 2020.




                                     Donald WyMolloyvDistrict Judge
                                      United States DistrictCourt
